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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 GREG HOLLAND,                                                18 CIVIL 6697 (KMK)

                         Plaintiff,
                                                              JUDGMENT
                  v.

 THOMAS MATOS, NANCI MATOS and
 BESTLIFE GIFTS LLC,

                        Defendants.

       This case having duly come on for trial by the Court without a jury on July 12, 13, 14 and

August 4, 2022, and the Court having rendered findings of fact and conclusions of law, it is hereby

       ORDERED, ADJUDGED AND DECREED:

       (1) That plaintiff shall recover of defendants, jointly and severally, damages in the amount

of $980,446.80, together with the costs of this action; and

       (2) The Agreement between plaintiff and defendants dated March 5, 2018, is declared void

because of fraud by the defendants in inducing same.

DATED: New York, New York
              19 2022
       August __,

So Ordered:                                                   RUBY J. KRAJICK

                                                              __________________________
________________                                                    Clerk of Court
   U.S.D.J.
                                                     BY:
                                                              _________________________
                                                                    Deputy Clerk
